Damages growing out of a breach of contract, in order to form the basis of a recovery, must be such as can be traced solely to the breach, must be capable of exact computation, must have arisen naturally and according to the usual course of things from such breach, and must be such as the parties contemplated as a probable result of the breach.
                        No. 15093. MARCH 6, 1945. *Page 42 
This was an equity suit filed by Sanford-Brown Company to enjoin a proceeding instituted against the company by Patent Scaffolding Company Inc. in the civil court of Fulton County. The petition also contained a prayer for damages. Patent Scaffolding Company Inc. had filed a suit against Sanford-Brown Company in the civil court of Fulton County to recover rentals on scaffolding equipment which had been rented to the latter company, and by cross-action and counterclaim, the latter company alleged that the scaffolding equipment was defective, and by reason thereof it had suffered damages in excess of $5000. To this answer the judge of the civil court sustained a demurrer, one of the grounds of which was that the answer was an effort to obtain affirmative equitable relief. Which was beyond the jurisdiction of that court. Subsequently, the instant petition in equity was filed, and the proceedings in the civil court of Fulton County were restrained. The trial judge sustained a general demurrer to this petition, and the exception is to that ruling.
The allegations in substance were: that during April, 1943. Sanford-Brown Company procured a contract from the Navy for the construction of a large blimp hangar near Brunswick; that the company rented scaffolds from Patent Scaffolding Company Inc. to use thereon; that an employee who had been working on this particular job approximately two months was fatally injured on September 20, 1943, by a fall caused by the teeth around the drum on the end of the scaffold stripping, which was the result of the defective and unsuitable condition of the implement. As to damages suffered by Sanford-Brown Company because of this occurrence, it was alleged: "(a) At the time their employee fell, this contract with the Navy was about 90% completed, and following this fatal fall . . 50% of the best employees of the plaintiff refused to continue on said job on account of having to use the said equipment furnished by the defendant, and it was impossible for plaintiff to obtain other employees to take their places, and the efficiency of the work of those employees who did remain on the job for the plaintiff was reduced more than 50% and as a result thereof, instead of the pay roll of the plaintiff from September 20, 1943, to the conclusion of the job being $2500, the pay roll of the *Page 43 
plaintiff for labor was $6400, a loss of approximately $4000 to this plaintiff by reason of the breach of the contract by the defendant. (b) That . . as a result of his death it has caused . . its insurance carrier (under the workmen's compensation law) to become liable for the payment to the widow of the sum of . . $5377.50. That . . by reason . . of the insurance carrier . . paying out said sum of money . . the rate of insurance chargeable to the plaintiff has been and will be increased in an amount between $1200 and $2000, and this increase of premiums . . is directly due to the failure of the defendant to furnish reasonably suited equipment to the plaintiff."
One of the grounds of the general demurrer asserted that the allegations of damages for alleged increase in the plaintiff's pay roll, and for increase in the rate of insurance premiums, were too remote, speculative, and conjectural to be items of damage cognizable in law or equity. The court did not err in sustaining the demurrer on this ground. "Remote or consequential damages are not allowed whenever they can not be traced solely to the breach of the contract, or unless they are capable of exact computation, such as the profits which are the immediate fruit of the contract, and are independent of any collateral enterprise entered into in contemplation of the contract." Code, § 20-1406. "Damages recoverable for a breach of contract are such as arise naturally and according to the usual course of things from such breach, and such as the parties contemplated, when the contract was made, as the probable result of its breach." § 20-1407. The allegation of damages based upon the refusal of certain employees to continue on the job and the inability of the plaintiff to replace them, and the inefficiency of those employees who did remain, and the other allegation of damages because of the increase of the insurance rate on account of an employee having been killed as a result of a defect in one of the scaffolds, are too remote to be the basis of a recovery. They are not such damages as could be traced solely to the breach of the contract, or as could be capable of exact computation; nor are they such *Page 44 
as arose naturally and according to the usual course of things from such breach, or such as the parties contemplated as a probable result of said breach.
No elaboration of what is said above is deemed necessary to a decision in this case. While there is no previous case presenting these exact facts, the principle here applied is in accordance with rulings in Georgia Railroad v. Hayden, 71 Ga. 518
(51 Am. R. 274); Simpson v. McMillan, 26 Ga. App. 280
(105 S.E. 848); Codman v. Roberds, 27 Ga. App. 559 (9) (109 S.E. 848); Brockman v. Rhodes, 33 Ga. App. 435 (3) (127 S.E. 153); Buffington v. Atlanta Title  Trust Co., 43 Ga. App. 444
(2) (159 S.E. 297); Stanfield v. Columbus Casket Co.,46 Ga. App. 84 (166 S.E. 784); Western Union Telegraph Co. v.Tyre, 58 Ga. App. 84 (197 S.E. 503).
Judgment affirmed. All the Justices concur, except Duckworth,J., who dissents.